IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MISSOURI

WESTERN DIVISION
BLYTHE AND SEAN MCDONNELL, )
Plaintiffs,
Vv. ) Case No. 4:17-cv-00146-DGK
NATIONSTAR MORTGAGE LLC, et al.,
Defendants.

DEFENDANT FIELD ASSET SERVICES, LLC A/K/A ASSURANT FIELD SERVICES,
LLC’S MOTION TO DISMISS COUNT I OF PLAINTIFF’S PETITION

COMES NOW Defendant Field Asset Services, LLC a/k/a Assurant Field Services, LLC,
by and through its counsel of record, and moves for dismissal of Count I of Plaintiffs’ Petition
for Damages pursuant to Federal Rule of Civil Procedure 12(b)(6). In support of Defendants’
motion to dismiss, Defendants have filed, contemporaneously herewith, a memorandum in
support.

WHEREFORE Defendant Field Asset Services, LLC a/k/a Assurant Field Services, LLC
respectfully requests this Court dismiss Count I of Plaintiff's Petition for Damages against this
Defendant for failure to state a claim upon which relief may be granted, and for such other and

further relief as the Court deems just and proper.

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MORROW: WILLNAUER*CHURCH, L.L.C.

By LAA 3 LLLI

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ASSURANT FIELD SERVICES, LLC

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I hereby certify that the above and
foregoing was filed with the Clerk of the
Court via ECF on this 28th day of September
2017, with a copy of the same being
served via electronic mail (ECF) by the
Clerk of the Court on this 28th day of
September 2017, to:

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